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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                  12/30/2020
---------------------------------------------------------------X
KENJY ORELLANA, et al.,                                        :
                                                               :     18-CV-8396 (VEC) (RWL)
                                             Plaintiffs,       :
                                                               :
                  - against -                                  :     ORDER
                                                               :
REAL INNOVATIVE CONSTRUCTION,                                  :
LLC, et al.,                                                   :
                                             Defendants. :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        Pursuant to the Court’s November 25, 2020 Order, and no appearance having

been entered for any of the remaining Defendants in this case, the individual Defendants

are now deemed to be proceeding pro se. The corporate Defendant – Real Innovative

Construction, LLC (“RIC”) – however, may not proceed pro se and can only appear

through counsel. Not having appeared by counsel, RIC is now subject to entry of default

and default judgment upon proper application by Plaintiffs.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: December 30, 2020
       New York, New York


Copies sent to all counsel of record, and the Clerk’s Office is directed to mail copies of
this Order to all remaining Defendants at the addresses listed on the summonses issued
in this case:

        REAL INNOVATIVE CONSTRUCTION, LLC
        205 Valentine Lane
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 Yonkers, New York 10705

 ANDY MORALES
 205 Valentine Lane
 Yonkers, New York 10705

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